Case 2:20-cv-01437-FWS-AS        Document 241-1   Filed 10/11/23   Page 1 of 4 Page ID
                                        #:4403


  1   Reed Aljian (State Bar No. 211010)
  2     ra@dallp.com
      Justin E.D. Daily (State Bar No. 209772)
  3     jd@dallp.com
  4   Simon Kwak (State Bar No. 296362)
        sk@dallp.com
  5   DAILY ALJIAN LLP
  6   100 Bayview Circle, Suite 5500
      Newport Beach, CA 92660
  7   Telephone: 949.861.2524
  8   Facsimile: 949.269.6364
      Attorneys for Defendants named as LA LUZ DEL MUNDO,
  9   an alleged unincorporated association; COMMUNICATION CENTER BEREA
      U.S.A. LLC (erroneously sued as International Berea USA); and NAASON
 10   JOAQUIN GARCÍA, an individual.
 11
                                UNITED STATES DISTRICT COURT
 12
            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 13

 14   SOCHIL MARTIN,                              Case No.: 2:20−cv−01437-FWS-AS

 15
                   Plaintiff,                     DISCOVERY MATTER
            v.
 16                                               [PROPOSED] ORDER ON
 17   LA LUZ DEL MUNDO, an                        STIPULATION REGARDING
      unincorporated association, et al.          INSPECTION OF PLAINTIFF’S
 18                                               ELECTRONIC DEVICES
                   Defendants.
 19
                                                  Judge:     Hon. Fred W. Slaughter
 20                                               Courtroom: 10D
 21
                                                  Magistrate Judge: Hon. Alka Sagar
 22                                               Courtroom:        540, 5th Floor
 23
                                                  Action Filed:      February 12, 2020
 24                                               Trial Date:        April 23, 2024
 25

 26

 27

 28

                       [PROPOSED] ORDER STIPULATION RE INSPECTION
                            OF PLAINTIFF’S ELECTRONIC DEVICES
Case 2:20-cv-01437-FWS-AS     Document 241-1     Filed 10/11/23    Page 2 of 4 Page ID
                                     #:4404


  1                                 [PROPOSED] ORDER
  2         By stipulation of Plaintiff SOCHIL MARTIN (“Plaintiff”), on the one hand,
  3   and Defendants LA LUZ DEL MUNDO, an alleged unincorporated association,
  4   COMMUNICATION CENTER BEREA U.S.A. LLC, erroneously sued as
  5   International Berea USA, and NAASON JOAQUIN GARCIA, an individual,
  6   (collectively, the “Defendants”), on the other hand, and good cause appearing, the
  7   Court Orders as follows:
  8                                         ORDER
  9         1.     Plaintiff shall make available for inspection to Defendants and their
 10   expert consultant the following electronic devices by delivery of this devices to
 11   Defendants’ consultant (collectively, the “Devices”);
 12                a. iPhone 5;
 13                b. iMazing copy of the iPhone 5; and
 14                c. LG Sylo6 [LG Stylo6]..
 15         2.     Defendants’ consultant shall be entitled to perform the:
 16                a. A visual inspection of the Devices; and
 17                b. Accessing the data on all Devices.
 18         3.     Plaintiff shall pay the cost to transport the devices to and from
 19   Defendants’ consultant and all amounts incurred by Defendant’s consultant to
 20   access and obtain the data from those devices (labor and materials), not to exceed
 21   $1,500;
 22         4.     The parties agree to the following protocol for review of the raw data
 23   on the Devices:
 24                a.     Defendants’ consultant shall make copies of the data from the
 25   devices and provide Plaintiff with a copy of the raw data he is able to access and
 26   obtain;
 27                b.     Defendants’ consultant will maintain a copy of the data copied;
 28                c.     Defendants’ consultant
                                              1 will make a copy of the data from the
                        [PROPOSED] ORDER STIPULATION RE INSPECTION
                             OF PLAINTIFF’S ELECTRONIC DEVICES
Case 2:20-cv-01437-FWS-AS       Document 241-1       Filed 10/11/23   Page 3 of 4 Page ID
                                       #:4405


  1   Devices and will deliver it to Plaintiff’s counsel, care of Daniel Cha;
  2                d.     Plaintiff shall have 14 days from receipt of the copies of the data
  3   from the Devices to review the data, designate any such data as privileged,
  4   confidential, and highly confidential, where appropriate, and provide Defendants a
  5   “Privilege Log” identifying any files that are alleged to be privileged, confidential,
  6   or highly confidential;
  7                e.     Plaintiff shall deliver the log to Defense counsel, care of Reed
  8   Aljian, who will then deliver the log to Defendants’ consultant and advise
  9   Plaintiff’s counsel via electronic mail that the logs have been delivered to
 10   Defendants’ consultant;
 11                f.     Defendants’ consultant will then segregate the alleged privileged
 12   files from the other data on the devices and, separately, Defendants’ consultant will
 13   mark any files designated “Confidential” as “CONF” within the file name and
 14   “Confidential - Attorney’s Eyes Only” as AEO within the file name;
 15                g.     Once the privileged data has been segregated and the
 16   confidential data has been marked as stated above, Defendants (or Defendants’
 17   counsel only, for material designated as “Confidential – Attorney’s Eyes Only”)
 18   will then be entitled to access and review all data except for the files alleged to be
 19   privileged; neither Defendants nor their consultant shall access or review any data
 20   designated as privileged absent subsequent de-designation in writing by Plaintiff or
 21   by Court order;
 22                h.     Plaintiff’s failure to timely provide the log shall be deemed a
 23   waiver of all objections;
 24   ///
 25   ///
 26   ///
 27

 28                                              2
                        [PROPOSED] ORDER STIPULATION RE INSPECTION
                             OF PLAINTIFF’S ELECTRONIC DEVICES
Case 2:20-cv-01437-FWS-AS     Document 241-1        Filed 10/11/23   Page 4 of 4 Page ID
                                     #:4406


  1         5.     Defendants’ agreement to permit Plaintiff any opportunity to designate
  2   records privileged, confidential, or confidential – attorneys’ eyes only is without
  3   prejudice and without waiver of the right to challenge the designations as provided
  4   under the terms of the Proposed Order.
  5
      IT IS SO ORDERED.
  6

  7   Date: __________________
  8                                                   Hon. Alka Sagar
                                                      Magistrate
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28                                             3
                      [PROPOSED] ORDER STIPULATION RE INSPECTION
                           OF PLAINTIFF’S ELECTRONIC DEVICES
